

Matter of Deron R. (Cyncere G.) (2024 NY Slip Op 06484)





Matter of Deron R. (Cyncere G.)


2024 NY Slip Op 06484


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, NOWAK, AND DELCONTE, JJ.


874 CAF 24-00032

[*1]IN THE MATTER OF DERON R. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT;
andCYNCERE G., RESPONDENT-APPELLANT. (APPEAL NO. 1.)






CAITLIN M. CONNELLY, BUFFALO, FOR RESPONDENT-APPELLANT.
AMY R. INZINA, BUFFALO, FOR PETITIONER-RESPONDENT.


	Appeal from an order of the Family Court, Erie County (Kelly A. Brinkworth, J.), entered December 18, 2023, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, determined that respondent had derivatively abused the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Dorian C. (Cyncere G.) ([appeal No. 3] — AD3d — [Dec. 20, 2024] [4th Dept 2024]).
Entered: December 20, 2024
Ann Dillon Flynn
Clerk of the Court








